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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 CYTODYN,INC.,

       Plaintiff,

 V.

                                                          Civil No. 21-2533 PJM
 AMAREX CLINICAL
RESEARCH lA^Cetal.,

       Defendant.


                                              ORDER


       Having considered Defendant's oral Motion to Seal by Telephone Conference held October

12, 2021, and Plaintiffs consent thereto, it is, this   day of October 2021,

       ORDERED


       1. The Motion shall be GRANTED and the following documents sealed: Complaint

           Exhibit D(ECF No. 1-5); Motion for Preliminary Injunction Exhibit B(ECF No.6-

           5).




                                                                 :terj. messitte
                                                        UNI      JTATES district JUDGE
